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 EXHIBIT K
                  Case 3:24-cv-00404-MCR-ZCB                         Document 21-17                  Filed 06/05/25           Page 2 of 2
                                                                                                                      3003 Palm Harbor Blvd., Suite B
                                                                                                                              Palm Harbor, FL 34683
                                                                                                   e: Payroll@VestedHR.com | w: www.vestedhr.com
                                                                                                                   o: 727.474.2114 | f: 727.255-6006

                                                             Employee Termination Notice
       Employee Name:                                                       Last four of SS# or EE ID#:
             Nicholas Ford

       Client Name:                                                         Client ID#:
        Southern Road & Bridge LLC                                                 000101
     I. Employee Information
       Last Day Worked: 7-23-2023
       Effective Date: 7-29-2023
       Eligible for rehire: Yes        No

       Cancel direct deposit and issue live check:     Yes            No


     II. Voluntary Termination                                              III. Involuntary Termination


           No Return from LOA                                                      Job Eliminated
           Retirement                                                              Unsatisfactory Performace
           Return to School                                                        Tardiness
           Personal                                                                 Lack of Work
           Issues w/Team Members                                                   Violation of company handbook
           Enlisted;Military                                                        Insubordination
           Schedule/Hours                                                          Absenteeism
           Working Conditions                                                      Other ___________________
           Illness/Medical
           Relocation
            Quit w/Notice
            Quit w/o Notice
            Other ___________________

     Remarks:




     Employee Signature:                    Date:            Manager Signature:                     Date:


                                                                                 7-31-2023
     ________________________________ ___________ _____________________________ __________




                                                                                                                                            EXHIBIT

                                                                                                                                                4
                                                                                                                                        Pappas 4/4/2025 M.A.

                                                                  PROPRIETARY CONFIDENTIAL
                                             * Vested HR Solutions, LLC includes the following companies/names:
               Ford000235
Payroll-Termination-02/2020-KL                                                                                                                      Page 1 of 1
                                       Vested HR, Vested HR II, LLC, Vested HR III, LLC, Vested HR IV, LLC Vested HR V, LLC
